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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:20-cv-05606-RGK- JC Date August 7, 2020

 

 

Title R.Y.L., INC. v. SCIENTIFIC GLASS ART, INC., et al

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams (not present) Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Discharging OSC [DE 13]; Order Granting

Stipulation [DE 14/15]

The Court hereby grants the parties’ Stipulation Extending Time to Answer Complaint as to All
Defendants. The date by which all Defendants must file an Answer is August 24, 2020. The OSC re
Lack of Prosecution is hereby discharged.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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